                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

              In re: Clifford D. Wright           )      Case Number: 17-15786
                                                  )      Chapter 13 Proceedings
                     Debtor                       )      Judge Arthur I. Harris

        TRUSTEE’S OBJECTION TO MOTION TO MODIFY UNCONFIRMED PLAN

Now comes LAUREN A. HELBLING, the duly appointed, qualified, and Standing Chapter 13 Trustee
herein, by and through counsel, and hereby files this objection to the motion to modify the
unconfirmed plan of the debtor filed on or about November 29, 2017. In support of her objection the
Trustee makes the following representations to the Court:

1.     The Trustee objects to the debtor’s motion for the following reasons:
       a.      The debtor has not provided proof that all the real estate she owns is insured, as
requested in the Trustee’s November 9, 2017 objection to confirmation.

2.     The Trustee reserves the right to amend and/or supplement her objection, should additional
information be provided.

WHEREFORE your Trustee, being a proper party in interest, hereby moves this Honorable Court to
sustain her objection and deny the motion of the debtor for the reasons cited.


                                            /S/ Philip D. Lamos
                                            PHILIP D. LAMOS (#0066844)
                                            Attorney for Lauren A. Helbling,
                                            Chapter 13 Trustee
                                            200 Public Square, Suite 3860
                                            Cleveland, OH 44114-2321
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                                  CERTIFICATE OF SERVICE

I hereby certify that on December 12, 2017, a true and correct copy of Trustee’s Objection to Motion to
Modify Unconfirmed Plan was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on the
Court’s Electronic Mail Notice List:

 Whitney Kaster, on behalf of, Thomas J. Fistek, Debtor, at wkaster@dannlaw.com

And by regular U.S. mail, postage prepaid, on:

  Thomas J. Fistek, Debtor, at 3565 Radcliff Road, Cleveland Heights, OH 44121

                                             /S/ Philip D. Lamos
                                             PHILIP D. LAMOS (#0066844)



LAH/pl
12/12/17




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